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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 S.C.G. a minor child, through his next
                                )
 friend, JAMANIC REAVES, and    )
 K.L.P., on behalf of themselves and
                                )
 all others similarly situated, )
                                )
                  Plaintiffs,   )
                                )
 vs.                            ) Case No.: 1:22-CV-01324-LMM
                                )
 CANDICE BROCE, in her official )
 capacity as COMMISSIONER OF )
 THE GEORGIA DEPARTMENT OF )
 HUMAN SERVICES,                )
                                )
       Defendant.               )

                          ORDER STAYING
                 PRETRIAL DEADLINES AND DISCOVERY
      THIS MATTER is before the Court on the Renewed Motion to Stay Pretrial

Deadlines and Discovery filed by Defendant Candice Broce, in her official capacity

as Commissioner of the Georgia Department of Human Services (“GDHS”), and

consented to by Plaintiffs.

      Upon consideration of the Motion to Stay Pretrial Deadlines and Discovery,

and the arguments contained in the accompanying Memorandum of Law, the Court

finds that there is sufficient evidence and just cause for the Court to stay pretrial
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deadlines and discovery while the Court considers GDHS’s Motion to Dismiss

Plaintiff’s Amended Complaint.

      Accordingly, it is hereby:

      ORDERED that GDHS’s Renewed Motion to Stay Pretrial Deadlines and

Discovery is GRANTED, staying the commencement of the discovery period and

all pretrial deadlines, including the parties’ obligations to comply with the deadlines

for filing initial disclosures and Plaintiffs’ deadline to move for class certification.

      It is furthermore ORDERED that should the Court later deny the Motion to

Dismiss Plaintiff’s Amended Complaint, the parties shall comply with all

preliminary mandates of the federal and local rules within thirty (30) days of the

Court’s Order denying said motion.

                        8th day of _________________
      SO ORDERED, this ____         July             2022.


                                   HON. LEIGH MARTIN MAY
                                   United States District Judge
                                   LEIGH MARTIN MAY
                                   UNITED STATES DISTRJCT JUD




                                         2
